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 7                                       UNITED STATES DISTRICT COURT
                                        WESTERN DISTRICT OF WASHINGTON
 8                                                AT TACOMA
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11      ROBERT CHARLES TILLITZ,
                                                                      Case No. CR94-5074RJB
12                                Petitioner,
                                                                      ORDER DENYING
13                        v.                                          MOTION FOR
                                                                      APPOINTMENT OF
14      UNITED STATES OF AMERICA,                                     COUNSEL, MOTION
                                                                      RECONSIDERATION,
15                                Respondent.                         AND MOTION FOR
                                                                      RELIEF FROM
16                                                                    JUDGMENT

17
18              This matter comes before the court on petitioner’s Motion for Reconsideration and Relief from
19   Judgment Under Federal Rules of Civil Procedure Rule 60(b)(Dkt. 762) and on petitioner’s Motion for
20   Appointment of Counsel Pursuant to 18 U.S.C. §3006A (Dkt. 761). The court has considered the relevant
21   documents and the remainder of the file herein.
22                                               PROCEDURAL HISTORY
23              In 1998, petitioner was convicted after a jury trial of (a) conspiracy to import hashish in violation of
24   21 U.S.C. § 963 (count one); (b) conspiracy to distribute hashish in violation of 21 U.S.C. § 846 (count
25   two); (c) importation of hashish in violation of 21 U.S.C. § 952 and 18 U.S.C. § 2 (count sixteen); (d)
26   possession of hashish with intent to distribute in violation of 21 U.S.C. § 841 and 18 U.S.C. § 2 (count
27   seventeen); and interstate and foreign travel or transportation in aid of racketeering enterprises in violation
28   of 18 U.S.C. § 1952 (counts eight, ten, eleven, twelve, fifteen and eighteen). Petitioner was sentenced on

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 1   August 14, 1998 to 360 months of imprisonment, followed by five years of supervised release and a $2
 2   million fine.
 3              On May 15, 2001, petitioner filed a motion pursuant to 28 U.S.C. § 2255 to vacate, set aside or
 4   correct his sentence. Tillitz v. U.S.A., C01-5257RJB. That motion attacked the conviction on three
 5   grounds: (1) that the jury failed to determine drug quantity beyond a reasonable doubt, relying on Apprendi
 6   v. New Jersey, 530 U.S. 466, 490 (2000); (2) that petitioner was denied choice of counsel at arraignment;
 7   and (3) that his waiver of the right to counsel was invalid. After staying the case pending the issuance of
 8   the Ninth Circuit’s en banc decision in United States v. Buckland, 227 F.3d 1173 (9th Cir. 2002), on March
 9   22, 2002, this court denied the Section 2255 motion as time-barred, and in an alternative holding, denied
10   the motion on the merits. Judgment was entered March 25, 2002. C01-5257RJB, Dkt. 38 and 39. On
11   April 12, 2002, the court denied Mr. Tillitz’ motion for reconsideration. Id., Dkt. 43. On July 26, the
12   court denied a Certificate of Appealability. On February 28, 2003, the Ninth Circuit issued the mandate
13   dismissing the appeal and denying a Certificate of Appealability. Id., Dkt. 55.
14                                                CURRENT MOTIONS
15              On June 15, 2007, petitioner filed a Motion for Reconsideration and Relief from Judgment Under
16   Federal Rules of Civil Procedure Rule 60(b)(Dkt. 762) and a Motion for Appointment of Counsel Pursuant
17   to 18 U.S.C. § 3006A(Dkt. 761).
18              Petitioner contends that his Sixth Amendment right to counsel at all critical stages was violated
19   because he was denied his counsel of choice at his arraignment. Petitioner argues that the court should not
20   have dismissed the 2255 motion as time barred because the decision was not based upon all the facts; that,
21   under United States v. Gonzalez-Lopez, 126 S.Ct. 2557 (2006), deprivation of counsel of choice at the
22   arraignment was structural error, not subject to a showing of prejudice; and that there were special
23   circumstances that should have excused his late filing of the original Section 2255 motion. Dkt. 762.
24              Petitioner has also filed a motion for appointment of counsel, contending that this is an important
25   matter with grave consequences. Dkt. 761.
26                                                     DISCUSSION
27              Fed.R.Civ.P. 60(b) provides that a party may receive relief from judgment, as follows:
28               (b) Mistakes; Inadvertence; Excusable Neglect; Newly Discovered Evidence; Fraud, Etc.
                On motion and upon such terms as are just, the court may relieve a party or a party's legal

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 1              representative from a final judgment, order, or proceeding for the following reasons: (1) mistake,
                inadvertence, surprise, or excusable neglect; (2) newly discovered evidence which by due diligence
 2              could not have been discovered in time to move for a new trial under Rule 59(b); (3) fraud
                (whether heretofore denominated intrinsic or extrinsic) misrepresentation, or other misconduct of
 3              an adverse party; (4) the judgment is void; (5) the judgment has been satisfied, released, or
                discharged, or a prior judgment upon which it is based has been reversed or otherwise vacated, or it
 4              is no longer equitable that the judgment should have prospective application; or (6) any other
                reason justifying relief from the operation of the judgment. The motion shall be made within a
 5              reasonable time, and for reasons (1), (2), and (3) not more than one year after the judgment, order,
                or proceeding was entered or taken. A motion under this subdivision (b) does not affect the finality
 6              of a judgment or suspend its operation. This rule does not limit the power of a court to entertain an
                independent action to relieve a party from a judgment, order, or proceeding, or to grant relief to a
 7              defendant not actually personally notified as provided in Title 28, U.S.C., § 1655, or to set aside a
                judgment for fraud upon the court. Writs of coram nobis, coram vobis, audita querela, and bills of
 8              review and bills in the nature of a bill of review, are abolished, and the procedure for obtaining any
                relief from a judgment shall be by motion as prescribed in these rules or by an independent action.
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                Petitioner apparently requests that the court vacate the judgment entered in this case and reconsider
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     the order denying the Section 2255 motion, based upon the decision in United States v. Gonzalez-Lopez.
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                Petitioner’s motion should be denied for numerous reasons. His request for relief from judgment is
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     untimely. His request does not meet the standard for mistake, inadvertence, surprise, or excusable neglect
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     or for newly discovered evidence that would qualify for relief from judgment. Further, there is no reason
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     for the court to reconsider the decision of this court that was affirmed on appeal. Petitioner’s Section 2255
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     motion was time barred and the underlying claims were without merit. United States v. Gonzalez-Lopez is
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     factually distinguishable. Petitioner’s claims in this motion for relief from judgment and for reconsideration
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     are without merit and should be denied. Because the claims are without merit and because petitioner is
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     able to adequately articulate the claims, his motion for appointment of counsel should be denied.
19
                Therefore, it is hereby
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                ORDERED that petitioner’s Motion for Reconsideration and Relief from Judgment Under Federal
21
     Rules of Civil Procedure Rule 60(b)(Dkt. 762) is DENIED. Petitioner’s Motion for Appointment of
22
     Counsel Pursuant to 18 U.S.C. §3006A (Dkt. 761) is DENIED.
23
                The Clerk is directed to send uncertified copies of this Order to all counsel of record and to any
24
     party appearing pro se at said party’s last known address.
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                                                      A
                DATED this 19th day of June, 2007.
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                                                      Robert J Bryan
28                                                    United States District Judge


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